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                         UNITED STATES BANKRUPTCY COURT
                                Middle District of Florida
                                   Orlando Division


IN RE:                                                   Case No:         6:14-bk-01818-KSJ

  Maryanne Karaman

                                                         Chapter 13
                                       Debtor


         Withdrawal of Motion to Dismiss for Failure to Maintain Timely Plan Payments

    Laurie K. Weatherford, Chapter 13 Trustee, hereby withdraws the Motion to Dismiss for Failure
to Maintain Timely Plan Payments filed February 28, 2018 (Document No. 79).


      I HEREBY CERTIFY, that a true and correct copy of the foregoing Withdrawal of Motion to
Dismiss for Failure to Maintain Timely Plan Payments has been furnished by the United States mail or
by electronic transmission to the parties listed below on the 11th day of June, 2018.


Debtor - Maryanne Karaman, 3500 Kayla Circle, Oviedo, FL 32765
Debtor's Attorney - Charles W Price, Price Law Firm, 400 Maitland Ave, Altamonte Springs, FL
32701

Respectfully submitted on this 11th day of June, 2018.



                                                               /S/ LAURIE K. WEATHERFORD
                                                               Chapter 13 Trustee
                                                               Stuart Ferderer
                                                               FL Bar No. 0746967
                                                               Ana DeVilliers
                                                               FL Bar No. 0123201
                                                               Attorney for Trustee
                                                               PO Box 3450
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